Exhibit A
Bree Bernwanger

From:                               Maclean, Emilou (PDR) <emilou.maclean@sfgov.org>
Sent:                               Tuesday, June 23, 2020 4:08 PM
To:                                 Coleman, Susan E.; Choe, Shiwon (USACAN); Garbers, Wendy (USACAN); Zack,
                                    Adrienne (USACAN)
Cc:                                 Bill Freeman; Sean Riordan; Angelica Salceda; Beier, Genna (PDR); Ugarte, Francisco
                                    (PDR); Bree Bernwanger; Cook, Timothy; Schenker, Marty; Judah Lakin; Amalia Wille
Subject:                            Re: Zepeda: response to COVID-confirmed case at Mesa Verde


Dear Susan—

Thank you for confirming that one additional class member has been tested.

The status report filed with the Court yesterday confirms the fears of Plaintiffs’ counsel that ICE is not taking seriously
identifying all of those potentially exposed (including by contact with people exposed to the infected nurse or by contact
with the infected nurse prior to June 15, 2020); ensuring that all potentially exposed are promptly tested for COVID‐
19, isolated, and monitored for symptoms, in order to further limit the risk of transmission within the facility; taking
further measures to mitigate risk, including through testing beyond those potentially exposed here; and communicating
with class members about the risks of transmission. Your resistance to even sharing basic information – the identities of
12 of our clients who Defendants admit have been exposed to a confirmed positive staff member as well as answers to
the other questions presented – heightens our concern.

In order to understand if Defendants are adequately protecting class members from the threat of COVID‐19, we need to
speak with the class members directly. This is particularly important as Defendants have previously presented inaccurate
information to the Court and to class counsel regarding the procedures related to COVID‐19 at Mesa Verde, including
related to intake, segregation, and testing. See Dkt. 286‐2 ¶¶ 3‐8; Dkt. 324.

Time is of the essence when there is a risk of exposure in a congregate living facility, as the exponential growth we now
see at San Quentin Prison makes clear. Judge Chhabria has identified the “unrebutted evidence that if and when [Covid‐
19 enters the facilities] it may cause a rapid and dangerous outbreak.” Dkt. 357 at 6 n. 2.

It is our responsibility as class counsel to communicate with our clients who have been exposed to COVID‐19 to
understand the risk to them and the class and to be able to meaningfully communicate with the Court if measures are
not being taken to adequately mitigate this risk. In the interest of the shared goal of protecting those in the facility from
an outbreak, we expect cooperation from Defendants in providing this basic information to us without our needing to
resort to judicial intervention. We thus renew our request for the information outlined in our previous correspondence.

Best,
Emi




From: "Coleman, Susan E." <SColeman@bwslaw.com>
Date: Tuesday, June 23, 2020 at 1:02 PM
To: "Maclean, Emilou (PDR)" <emilou.maclean@sfgov.org>, "Choe, Shiwon (USACAN)"
<Shiwon.Choe@usdoj.gov>, "Garbers, Wendy (USACAN)" <Wendy.Garbers@usdoj.gov>, "Zack, Adrienne
(USACAN)" <Adrienne.Zack@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>, Sean Riordan <SRiordan@aclunc.org>, Angelica Salceda

                                                              1
<asalceda@aclunc.org>, "Beier, Genna (PDR)" <genna.beier@sfgov.org>, "Ugarte, Francisco (PDR)"
<francisco.ugarte@sfgov.org>, Bree Bernwanger <bbernwanger@lccrsf.org>, "Cook, Timothy"
<tcook@cooley.com>, "Schenker, Marty" <mschenker@cooley.com>, Judah Lakin <judah@lakinwille.com>,
Amalia Wille <amalia@lakinwille.com>
Subject: RE: Zepeda: response to COVID‐confirmed case at Mesa Verde

Emi – if the exposed persons have been tested (and I can now confirm that the person on suicide watch has also been
tested), why do you have an obligation to communicate with them?

I also wanted to add that temperatures are not taken orally, so masks are not typically removed during medical
encounters. You mentioned that vitals might require removal of masks but they do not.

Susan

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From: Maclean, Emilou (PDR) [mailto:emilou.maclean@sfgov.org]
Sent: Tuesday, June 23, 2020 12:26 PM
To: Coleman, Susan E.; Choe, Shiwon (USACAN); Garbers, Wendy (USACAN); Zack, Adrienne (USACAN)
Cc: Bill Freeman; Sean Riordan; Angelica Salceda; Beier, Genna (PDR); Ugarte, Francisco (PDR); Bree Bernwanger; Cook,
Timothy; Schenker, Marty; Judah Lakin; Amalia Wille
Subject: Re: Zepeda: response to COVID-confirmed case at Mesa Verde

[EXTERNAL]

Counsel,

Thank you for your quick response. However, we have an obligation to communicate with class members who may have
been exposed to COVID‐19 through their interaction with this Mesa Verde staff member who has been confirmed to
have COVID‐19, and we can only access this information through the facility. We also have an obligation to ensure that
the person released is aware of his potential risk of exposure. Thus, we reiterate our request that you confirm the names
of our clients who have been exposed. If you will not, we ask that you provide more specific information as to why that
information may not be shared with class counsel.

Please also provide information to answer the other questions raised below:

    1. what days the COVID‐confirmed medical provider worked in the two weeks before she tested positive;

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      2. the names of each of the detained Zepeda class members who had any contact with the COVID‐confirmed
          medical provider in the 14 days before she tested positive;
      3. whether those detained class members have been informed that they have come into contact with the COVID‐
          confirmed medical provider;
      4. whether they have been informed that they have the right to a test, whether they have been tested for COVID,
          and the results if any;
      5. whether ICE has considered offering testing to all detained class members in light of the increased risk as well as
          the new CDC guidelines;
      6. whether any class members have been cohorted, quarantined, or otherwise segregated in light of exposure, and
          whether the facility has the capacity to do so if there is a need;
      7. whether staff outside of the medical unit have been offered testing in light of this recent development, whether
         they have been tested, and the results if any; and
      8. whether the staff member who refused to be tested despite coming into contact with the COVID‐infected nurse
         is going to work despite being potentially infectious.

Thank you,

Emi




From: "Coleman, Susan E." <SColeman@bwslaw.com>
Date: Tuesday, June 23, 2020 at 10:45 AM
To: "Maclean, Emilou (PDR)" <emilou.maclean@sfgov.org>, "Choe, Shiwon (USACAN)"
<Shiwon.Choe@usdoj.gov>, "Garbers, Wendy (USACAN)" <Wendy.Garbers@usdoj.gov>, "Zack, Adrienne
(USACAN)" <Adrienne.Zack@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>, Sean Riordan <SRiordan@aclunc.org>, Angelica Salceda
<asalceda@aclunc.org>, "Beier, Genna (PDR)" <genna.beier@sfgov.org>, "Ugarte, Francisco (PDR)"
<francisco.ugarte@sfgov.org>, Bree Bernwanger <bbernwanger@lccrsf.org>, "Cook, Timothy"
<tcook@cooley.com>, "Schenker, Marty" <mschenker@cooley.com>, Judah Lakin <judah@lakinwille.com>,
Amalia Wille <amalia@lakinwille.com>
Subject: RE: Zepeda: response to COVID‐confirmed case at Mesa Verde

Counsel – GEO does not want to release these names, as the spreading of this information (and the likely corollary
discovery of the name of the RN) may lead to disturbances at the facility affecting safety/security. The facility continues
to follow CDC recommendations including providing masks to all detainees, allowing for social distance in housing, meals
and other activities, and monitoring for symptoms.

Will let you know the results once they are returned. The facility plans to test the individual on suicide once he can be
spoken with by a mental health professional, assuming he cooperates, but in the meantime he is isolated from
others. The person who was released is no longer an issue for the remaining detainees.

Susan

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From: Maclean, Emilou (PDR) [mailto:emilou.maclean@sfgov.org]
Sent: Tuesday, June 23, 2020 10:41 AM
To: Coleman, Susan E.; Choe, Shiwon (USACAN); Garbers, Wendy (USACAN); Zack, Adrienne (USACAN)
Cc: Bill Freeman; Sean Riordan; Angelica Salceda; Beier, Genna (PDR); Ugarte, Francisco (PDR); Bree Bernwanger; Cook,
Timothy; Schenker, Marty; Judah Lakin; Amalia Wille
Subject: Re: Zepeda: response to COVID-confirmed case at Mesa Verde

[EXTERNAL]

Dear Susan,

Thank you for this information. Can you please provide asap the names of the individual class members who were
tested, as well as the names of the individuals not tested because they were released and on suicide watch, and
facilitate calls between these still‐detained class members and class counsel today?

We also look forward to your responses to the other questions that are outstanding.

Sincerely,

Emi

From: "Coleman, Susan E." <SColeman@bwslaw.com>
Date: Tuesday, June 23, 2020 at 10:38 AM
To: "Maclean, Emilou (PDR)" <emilou.maclean@sfgov.org>, "Choe, Shiwon (USACAN)"
<Shiwon.Choe@usdoj.gov>, "Garbers, Wendy (USACAN)" <Wendy.Garbers@usdoj.gov>, "Zack, Adrienne
(USACAN)" <Adrienne.Zack@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>, Sean Riordan <SRiordan@aclunc.org>, Angelica Salceda
<asalceda@aclunc.org>, "Beier, Genna (PDR)" <genna.beier@sfgov.org>, "Ugarte, Francisco (PDR)"
<francisco.ugarte@sfgov.org>, Bree Bernwanger <bbernwanger@lccrsf.org>, "Cook, Timothy"
<tcook@cooley.com>, "Schenker, Marty" <mschenker@cooley.com>, Judah Lakin <judah@lakinwille.com>,
Amalia Wille <amalia@lakinwille.com>
Subject: RE: Zepeda: response to COVID‐confirmed case at Mesa Verde

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Counsel – just wanted to let you know that 10 of the 12 detainees have already been tested. #11 was released. #12 is
on suicide watch so he’s in solitary with direct observation, waiting for mental health to assist with administering the
test. No results yet.

The screening given to staff on entry is compliant with CDC recommendations.

Also, it is my understanding the RN did not seek a COVID test, it was administered in connection with her medical
appointment for other reasons.

Sincerely,

Susan

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From: Maclean, Emilou (PDR) [mailto:emilou.maclean@sfgov.org]
Sent: Tuesday, June 23, 2020 9:14 AM
To: Choe, Shiwon (USACAN); Garbers, Wendy (USACAN); Zack, Adrienne (USACAN); Coleman, Susan E.
Cc: Bill Freeman; Sean Riordan; Angelica Salceda; Beier, Genna (PDR); Ugarte, Francisco (PDR); Bree Bernwanger; Cook,
Timothy; Schenker, Marty; Judah Lakin; Amalia Wille
Subject: Zepeda: response to COVID-confirmed case at Mesa Verde

[EXTERNAL]

Dear Counsel:

Following up on your status report filed yesterday evening related to the confirmed COVID‐19 case at Mesa Verde,
Plaintiffs seek further information.

Defendants’ status report to the Court raises serious concerns for Plaintiffs in light of what is included as well as what is
lacking. It suggests that Defendants are neither taking this incident seriously nor taking appropriate action in response to
it.

        Five days have passed since the confirmed case was identified at Mesa Verde and, based on your status report,
         there is no evidence that Defendants have tested – or offered testing to – a single one of the 12 detainees with
         whom she came in contact on her last day at work, let alone on any of the previous days she was working when
         she may also have been infected with COVID. The status report notes only that “ICE has requested that MV offer
         COVID‐19 testing” to a limited number of class members. (Plaintiffs reject Defendants’ assertion that class
         members face minimal risk of exposure where they came into contact with her to have their vital signs and
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         blood sugar counts taken given that close proximity is necessary for such interactions. Moreover, given that vital
         signs were taken, it is likely that detainees were not wearing surgical masks at all times interacting with the
         health care provider. The status report seems unclear on this issue, noting only that detainees who visited the
         medical unit “were observed” wearing surgical masks, not that all these class members wore surgical masks
         at all relevant times.)
        There is no evidence that even the 12 people who were in contact with the nurse on the final day that she
         worked have been cohorted let alone quarantined or individually segregated. Apparently none have been
         tested, and it seems none have even been offered testing. There is no evidence of quarantining, cohorting,
         testing, or offering tests for anyone who she came into contact with prior to her last working day. There is not
         even a recognition of the need to take into consideration the risks to these detained class members if they did
         not come into contact with the nurse on her last day at work. If any class members are infected, it appears that
         they remain in the general population where they are at high risk of infecting others.
        There is no evidence that ICE is offering testing to all detained class members despite the new CDC guidance
         recommending this. New CDC guidance on testing, issued on June 13, affirms that “broader testing, beyond
         close contacts, is recommended as a part of a strategy to control transmission of SARS‐CoV‐2” in “high‐risk
         settings that have potential for rapid and widespread dissemination of SARS‐CoV‐2.” The guidelines recognize
         the risk of “substantial adverse effects” in “settings that house vulnerable populations in close quarters for
         extended periods of time (e.g., long‐term care facilities, correctional and detention facilities).” San Quentin
         provides further concerning evidence of the risk of exponential spread in detention settings—going from zero
         prisoner cases in late May to nearly 200 on Sunday to over 300 yesterday.
        It is evident that the current practice of “screening for symptoms” for employees entering the facility is
         insufficient as, at a minimum, it does not catch asymptomatic cases. Defendants have provided no information
         regarding her symptoms or what kind of screening she underwent when she entered the facility.
        It is concerning that a Mesa Verde health care worker would need to seek a test off‐site rather than on‐site. The
         fact that the health care worker requested a test with an independent health care provider suggests that at least
         some health care workers (and perhaps other staff) seek to be tested but are not provided that option by
         Defendants at work despite their work in a high‐risk environment. The status report also suggests that COVID
         testing following this confirmed case has only been offered to the medical unit but not all employees or
         contractors. As medical experts and the CDC have repeatedly recognized, employees are some of the most
         common vectors of transmission in congregate living facilities.

To allow us to provide accurate and timely information to our clients, and allow us to meaningfully respond to this new
information, it is necessary that you provide advise us by 5:00 p.m. today with the following information:

    1. what days the COVID‐confirmed medical provider worked in the two weeks before she tested positive;
    2. the names of each of the detained Zepeda class members who had any contact with the COVID‐confirmed
         medical provider in the 14 days before she tested positive;
    3.   whether those detained class members have been informed that they have come into contact with the COVID‐
         confirmed medical provider;
    4.   whether they have been informed that they have the right to a test, whether they have been tested for COVID,
         and the results if any;
    5.   whether ICE has considered offering testing to all detained class members in light of the increased risk as well as
         the new CDC guidelines;
    6.   whether any class members have been cohorted, quarantined, or otherwise segregated in light of exposure, and
         whether the facility has the capacity to do so if there is a need;
    7.   whether staff outside of the medical unit have been offered testing in light of this recent development, whether
         they have been tested, and the results if any; and
    8.   whether the staff member who refused to be tested despite coming into contact with the COVID‐infected nurse
         is going to work despite being potentially infectious.




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We also ask that you facilitate phone calls before noon tomorrow between class counsel and each of the individual class
members who came into contact with the COVID‐confirmed medical provider in the two weeks before she tested
positive, so that we may discuss this new development and its impact on them.

If satisfactory responses are not provided by 5:00 p.m. today, given the urgency and significance of this matter, we
reserve the right to file a response with the court.

Best,
Emi




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